17-13162-shl      Doc 635       Filed 09/17/18     Entered 09/17/18 12:53:11           Main Document
                                                  Pg 1 of 2



 CULLEN AND DYKMAN LLP
 100 Quentin Roosevelt Boulevard
 Garden City, NY 11530
 (516) 357-3700
 C. Nathan Dee, Esq.
 Elizabeth M. Aboulafia, Esq.

 Counsel to Navillus Tile, Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
                                                                  :
In re:                                                            : Chapter 11
                                                                  :
NAVILLUS TILE, INC., DBA NAVILLUS                                 : Case No. 17-13162 (SHL)
CONTRACTING                                                       :
                                                                  :
                            Debtor.                               :
                                                                  :
------------------------------------------------------------------x

                              NOTICE OF ADJOURNMENT OF HEARING

         PLEASE TAKE NOTICE that on August 27, 2018, the above-captioned debtor and

 debtor-in-possession (“Navillus or the “Debtor”) filed the Debtor’s Eighth Omnibus Objection to

 Disallow and Expunge or Reclassify Claims (the “Objection”) [Docket No. 604]. A hearing (the

 “Hearing”) was scheduled to consider the relief requested in the Objection for October 4, 2018 at

 11:00 a.m. (prevailing Eastern Time) in Courtroom 701, One Bowling Green, New York, New

 York 10004.

         PLEASE TAKE FURTHER NOTICE that Navillus has adjourned the Hearing on the

 Objection to October 24, 2018 at 11:00 a.m. (prevailing Eastern Time). The response deadline,

 as set forth in the Objection, remains unchanged unless otherwise agreed with Navillus.
17-13162-shl   Doc 635   Filed 09/17/18    Entered 09/17/18 12:53:11     Main Document
                                          Pg 2 of 2



Dated: Garden City, New York
       September 17, 2018
                                                      CULLEN AND DYKMAN LLP


                                                      By: s/ Elizabeth M. Aboulafia
                                                      C. Nathan Dee, Esq.
                                                      Elizabeth M. Aboulafia, Esq.
                                                      100 Quentin Roosevelt Boulevard
                                                      Garden City, NY 11530
                                                      (516) 357-3700

                                                      Counsel for Navillus Tile, Inc.




                                            2
